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8                                UNITED STATES DISTRICT COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

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11    JOHN STEVEN JAMES,                            Case No. 5:20-00440 CJC (ADS)

12                                 Plaintiff,

13                                 v.               JUDGMENT

14    COIS BYRD DETENTION CENTER, et al.

15                                 Defendants.

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17           Pursuant to the Court’s Order Accepting the Report and Recommendation of

18    United States Magistrate Judge, IT IS HEREBY ADJUDGED that the above-captioned

19    case is dismissed in its entirety.

20           The case is dismissed in its entirety due to Plaintiff’s failure to prosecute and

21    comply with court orders pursuant to Federal Rule of Civil Procedure 41(b).

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23    DATED: September 22, 2021                  ______________________________
                                                 THE HONORABLE CORMAC J. CARNEY
24                                               United States District Judge
